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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In Re:      TRICIA ANN ROUTT                        :       Case No: 23-52781


                                                    :       CHAPTER 13


                                                    :       Judge Mina Nami Khorrami
                              TRUSTEE'S MOTION TO DISMISS
   Now comes Edward A. Bailey, standing Chapter 13 Trustee herein, and moves this Court to

dismiss this case pursuant to 11 U.S.C. §§1307(c), 521(b) and/or 109(h) for the reasons set forth

below:

   Debtor has failed to tender the full statutory first plan payment and the 341 Meeting could

not be held as Debtor failed to serve the plan on all creditors and parties in interest.


   Wherefore, the Trustee requests that an order be entered dismissing this case, granting the

Trustee leave to file his Final Report, and discharging the Trustee from his trust.


                                                            Respectfully submitted,

                                                            /s/ Edward A. Bailey
                                                            Edward A. Bailey (0068073)
                                                            Chapter 13 Trustee
                                                            550 Polaris Parkway, Suite 500
                                                            Westerville, OH 43082
                                                            Tel: (614)-436-6700
                                                            Fax: (614)-436-0190
                                                            Email: trustee@ch13.org
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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

In Re:      TRICIA ANN ROUTT                      :       Case No: 23-52781


                                                  :       CHAPTER 13


            Debtor(s)                             :       Judge Mina Nami Khorrami
                            NOTICE OF MOTION TO DISMISS
   The Chapter 13 Trustee has filed papers with the court to dismiss this case.

   Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

    If you do not want the court to grant the relief sought in the motion, then on or before
twenty-one (21) days from the date set forth in the certificate of service for the motion, you
must file with the court a response explaining your position by mailing your response by
ordinary U.S. Mail to Clerk, U.S. Bankruptcy Court, 170 N. High Street, Columbus, OH 43215
OR your attorney must file a response using the court’s ECF System.

   The court must receive your response on or before the above date.

    You must also send a copy of your response either by 1) the court’s ECF System or 2)
ordinary U.S. Mail to:

Edward A. Bailey                                United States Trustee
550 Polaris Parkway, Suite 500                  170 N. High Street, #200
Westerville, OH 43082                           Columbus, OH 43215


    If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the motion and may enter an order granting that relief without further
hearing or notice.

   If a response is filed within the time provided above, then a hearing will be held on
October 26, 2023, at 1:00 pm, in Courtroom A of the U.S. Bankruptcy Court, 170 N. High
Street, Columbus, OH 43215. If no response is filed within the time provided, then no
hearing will be held, and the Court may enter an order dismissing this case.
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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In Re:      TRICIA ANN ROUTT                       :       Case No: 23-52781


                                                   :       CHAPTER 13


                                                   :       Judge Mina Nami Khorrami

                                 CERTIFICATE OF SERVICE

   I hereby certify that on September 28, 2023, a copy of the foregoing Motion to Dismiss was

served on the following registered ECF participants electronically through the court's ECF

system at the email address registered with the court:

U.S. Trustee
Edward A. Bailey
Pro Se


and on the following by ordinary U.S. mail address to:

Tricia Ann Routt
10639 County Road 26
West Mansfield, OH 43358
                                                         /s/Edward A. Bailey
                                                         Edward A. Bailey
                                                         Chapter 13 Trustee
